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                              United States District Court
                                        for the
                              Southern District of Florida

    United States of America,              )
    Plaintiff,                             )
                                           )
                                             Criminal Case No. 08-21158-CR-
    v.                                     )
                                             Scola
                                           )
    Joel Steinger,                         )
    Defendant.                             )
                 Order on Defendant’s Motion to Reduce Sentence
                       Pursuant to 18 U.S.C. § 3582(c)(1)(A)(i)
          On March 18, 2020, Defendant Joel Steinger filed a motion for
   compassionate release pursuant to 18 U.S.C. § 3582(c)(1)(A)(i). (ECF Nos. 1223-
   24.) Steinger requests that he be released from prison early in light of his
   declining health and the COVID-19 pandemic. Having considered the motion,
   the Government’s response, Steinger’s reply, the record, and the relevant legal
   authority, as well as the 18 U.S.C. § 3553 factors, the Court denies Steinger’s
   motion (ECF Nos. 1223-1224).
          There are various circumstances where a Court should release inmates
   from prison, and this Court has not hesitated to do so where appropriate. See
   United States v. Kahn, Case No. 11-cr-20331 (S.D. Fla. Oct. 11, 2019) (Scola, J.);
   United States v. Oreste, Case No. 14-cr-20349 (S.D. Fla. Apr. 6, 2020) (Scola, J.).
   But this is not one of those cases. See also United States v. Esformes, Case No.
   16-cr-20549 (S.D. Fla. Apr. 9, 2020) (Scola, J.). On August 29, 2014, the Court
   sentenced Steinger to 20 years in prison following his convictions arising from
   fraudulent healthcare schemes. (Mot., ECF No. 1224 at 2-3.) Steinger’s request,
   if granted, would result in a 12-year reduction of his sentence, which the Court
   finds to be inappropriate given the severity of his offenses.
          Under the relevant Sentencing Guidelines Policy Statement, the Court
   “may reduce a term of imprisonment . . . if, after considering the factors set forth
   in 18 U.S.C. § 3553(a), to the extent they are applicable, the court determines
   that . . . extraordinary and compelling reasons warrant a reduction.” § 1B1.13.
   The Court must also find that the defendant “is not a danger to the safety of any
   other person or to the community, as provided in 18 U.S.C. § 3142(g).” Id. at
   policy stmt. Based on this framework, in order to release Steinger at this time,
   the Court must find extraordinary and compelling reasons warrant his release,
   that he is not a danger to the community, and consider the factors in 18 U.S.C.
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   § 3553(a). Recently, and specifically in connection with the COVID-19 pandemic,
   Attorney General William Barr emphasized the importance of protecting the
   public from individuals who may pose a danger to society and he echoed the
   need for careful, individualized determinations on the appropriateness of
   releasing any given inmate and does not encourage a mass release of all
   qualifying inmates. (Memorandum from the Attorney General (Apr. 3, 2020).)
           As Steinger notes, the Office of the General Counsel for the Federal Bureau
   of Prisons concluded that Steinger meets the criteria for a reduction in sentence
   and that his request should nevertheless be denied because his “release at this
   time would minimize the severity of his [mail and wire fraud] offenses.” (ECF No.
   1224 at 2.) The Government also opposes Steinger’s release, pointing to the
   serious harms that Steinger committed in the case at bar and the separate harms
   that he caused while he was last released on bond. (ECF No. 1228.) The
   Government also argues that Steinger’s “plan for release is not viable or safe,
   and is likely to endanger the defendant or harm others.” (Id. at 1.)
            The Court agrees with the BOP General Counsel’s position that Steinger’s
   release at this time would minimize the severity of his offenses. The Court also
   agrees with the Government that Steinger’s release at this time would conflict
   with the 18 U.S.C. § 3553(a) factors. At the time of sentencing, the nature and
   circumstances of the offense and the history and characteristics of the offender,
   see § 3553(a)(1), coupled with the need to ensure adequate punishment,
   deterrence, and community protection, see id. at (a)(2)(A-C), and to avoid
   unwarranted disparity, see id. at (a)(6), warranted a sentence of 20 years of
   imprisonment. As an initial matter, Steinger has served only approximately eight
   years of his sentence. The Court notes that Steinger’s advisory sentencing
   guidelines called for a sentence of incarceration of 50 years. The Court varied
   below the guidelines by 30 years, in large part based on Steinger’s then-
   declining health. Steinger has hardly served 40% of his sentence for an $800
   million fraudulent scheme that harmed more than 30,000 victims. Steinger now
   seeks what would effectively result in a 42-year variance from the sentence called
   for by the sentencing guidelines. Even duly crediting Steinger’s serious health
   issues, which the Court treats as fairly presented in the detailed motion, the
   severity of his offenses counsels the Court against releasing him after serving so
   little of his sentence.
           The Court also is not assured that Steinger is not a danger to the
   community. Steinger plainly is not the kind of inmate Attorney General Barr
   contemplated when warning about the over-burdening of the police force “with
   the indiscriminate release of thousands of prisoners onto the streets.” (Mem. at
   3.) However, in 2012, at age 63, Steinger was charged with a new and unrelated
   fraud scheme committed while he was on bond in the case at bar, and he was
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   on bond in part due to his then-existing health conditions. (ECF No. 1228 at 2.)
   The Defendant was also sentenced in 1980 in connection with a separate
   fraudulent scheme. (Id.) Steinger has offended time and again, even while on
   bond, and his health issues do not neutralize the danger he poses to the public.
           The Court also notes that Steinger’s plan for release is not viable. Even if
   the Court were to credit Steinger’s grievances with his current medical treatment,
   Steinger has failed to persuade the Court that he would fare any better under
   his proposal to be released to live in a home in Staten Island, New York. The
   Court acknowledges that efforts have been taken to make that home handicap
   accessible in consultation with the U.S. Probation Office for the Eastern District
   of New York. (ECF No. 1230 at 2.) However, New York City has become the global
   epicenter of the COVID-19 pandemic. Putting aside the aforementioned reasons
   justifying denial of the motion, Steinger’s travel and relocation from a medical
   facility to a home in New York City does not appear to be the proper response to
   the present extraordinary circumstances.
           For the reasons set forth above, and in consideration of the statutory
   factors, the Court denies Steinger’s motion to reduce his sentence (ECF Nos.
   1223-24).
         Done and ordered at Miami, Florida, on April 14, 2020.

                                                ________________________________
                                                Robert N. Scola, Jr.
                                                United States District Judge
